                             Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 1 of 23

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 Brownsville Division           Southern District of Texas


 Case number (if known):                                            Chapter     11                                                      ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                        06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Dean Gutierrez Investments, LP



    2. All other names debtor used                Trevinos Flour Tortilla Factory and Restaurant
       in the last 8 years
                                                  Gutierrez Construction
     Include any assumed names,      International Investments Genral Contracting
     trade names, and doing business Texas Meats
     as names



    3. Debtor's federal Employer                  7      1 – 3     8   5    7   2    7   3
       Identification Number (EIN)



    4. Debtor's address                           Principal place of business                                   Mailing address, if different from principal place of
                                                                                                                business

                                                   54 Boca Chica Blvd
                                                  Number           Street                                       Number        Street



                                                                                                                P.O. Box
                                                   Brownsville, TX 78520
                                                  City                                   State   ZIP Code
                                                                                                                City                              State      ZIP Code

                                                   Cameron                                                      Location of principal assets, if different from principal
                                                  County                                                        place of business


                                                                                                                Number        Street




                                                                                                                City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ✔
                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
                           Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 2 of 23

Debtor      Dean Gutierrez Investments, LP                                                                       Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    2     3   6   1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑    Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A     ✔
                                                ❑    Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V             ✔
                                                      ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                          operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                            exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                            debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                            proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                            balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                            any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑     A plan is being filed with this petition.

                                                      ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                            accordance with 11 U.S.C. § 1126(b).
                                                      ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                            Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                            (Official Form 201A) with this form.
                                                      ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes.   District                                       When                    Case number
                                                                                                               MM / DD / YYYY
     If more than 2 cases, attach a                       District                                      When                     Case number
     separate list.                                                                                            MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes.   Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                               When
     separate list.                                                                                                                            MM / DD / YYYY
                                                          Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                            Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 3 of 23

Debtor        Dean Gutierrez Investments, LP                                                                       Case number (if known)
             Name


  11. Why is the case filed in this      Check all that apply:
      district?
                                         ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         ❑
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                         ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have        ✔ No
                                         ❑
      possession of any real
      property or personal property
                                         ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?                                      ❑     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                            What is the hazard?


                                                      ❑     It needs to be physically secured or protected from the weather.
                                                      ❑     It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                            (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                            options).
                                                      ❑     Other
                                                      Where is the property?
                                                                                 Number         Street




                                                                                 City                                           State       ZIP Code
                                                      Is the property insured?
                                                      ❑ No
                                                      ❑ Yes.        Insurance agency
                                                                    Contact name
                                                                    Phone

          Statistical and administrative information

         13. Debtor’s estimation of      Check one:
             available funds?            ❑ Funds will be available for distribution to unsecured creditors.
                                         ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         ❑
                                               creditors.

         14. Estimated number of
                                          ✔
                                          ❑      1-49 ❑ 50-99                   ❑       1,000-5,000 ❑ 5,001-10,000          ❑    25,001-50,000 ❑ 50,000-100,000
             creditors                    ❑      100-199 ❑       200-999        ❑       10,001-25,000                       ❑    More than 100,000


         15. Estimated assets             ❑      $0-$50,000                        ❑      $1,000,001-$10 million                ❑       $500,000,001-$1 billion
                                          ❑      $50,001-$100,000                  ❑      $10,000,001-$50 million               ❑       $1,000,000,001-$10 billion
                                          ❑      $100,001-$500,000                 ❑      $50,000,001-$100 million              ❑       $10,000,000,001-$50 billion
                                          ✔
                                          ❑      $500,001-$1 million               ❑      $100,000,001-$500 million             ❑       More than $50 billion




Official Form 201                                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 4 of 23
                             Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 5 of 23
Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant
        to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code,
        this Exhibit "A" shall be completed and attached to the petition.]

                                                                      [Caption as in Form 416B]

                                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                                             Bankruptcy under Chapter 11

                1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number is
                               .

                2. The following financial data is the latest available information and refers to the debtor's condition on                    .

                 a. Total assets                                                                                                 $585,613.00
                 b. Total debts (including debts listed in 2.c., below)                                                          $641,291.85
                 c. Debt securities held by more than 500 holders

                                                                                                                                   Approximate
                                                                                                                                   number of
                                                                                                                                   holders:
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 secured     ❑   unsecured   ❑   subordinated   ❑
                 d. Number of shares of preferred stock
                 e. Number of shares common stock

                Comments, if any:


                                                                 Real Estate and Business Investing
                3. Brief description of debtor's business



                 4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
        securities of debtor:




Official Form 201A                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                            Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 6 of 23


B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Southern District of Texas
                                                                                        Brownsville Division
In re        Dean Gutierrez Investments, LP

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                     $50,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                             $0.00

        Balance Due ................................................................................................................................................    $50,000.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔
        ❑     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        law firm.

        ❑     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

        d.      Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
                   Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 7 of 23


B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        07/03/2023                                            /s/ Antonio Martinez, Jr.
                Date                                         Antonio Martinez, Jr.
                                                             Signature of Attorney
                                                                                             Bar Number: 24007607
                                                                            Law Office of Antonio Martinez, Jr., P.C.
                                                                                                 515 West Nolana B
                                                                                                 McAllen, TX 78504
                                                                                             Phone: (956) 683-1090

                                                                   Law Office of Antonio Martinez, Jr., P.C.
                                                            Name of law firm




                                                                 Page 2 of 2
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 8 of 23


                      Bakemark
                      4701 Valley Industrial Blvd S
                      Shakopee, MN 55379-1894




                      CINTAS
                      700 Dawson Rd
                      Mercedes, TX 78570-4339




                      Laura Kupish
                      551 North Williams RD C
                      San Benito, TX 78586




                      Law Office of Antonio
                      Martinez, Jr., P.C.
                      515 West Nolana B
                      McAllen, TX 78504



                      Leonardo Perez
                      7797 Gastin Drive
                      Brownsville, TX 78521




                      Mantis Financial




                      Montanaro Investments
                      134 E Price Rd D1
                      Brownsville, TX 78521-3528




                      Performance Food Group, Inc.
                      204 N Brownson St
                      Victoria, TX 77901-8535
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 9 of 23


                      RRB Solutions
                      c/o Investor Loan Services, Inc.
                      P.O. Box 1064
                      San Benito, TX 78586



                      Texas Workforce Commission
                      Office of the Attorney General-Bankruptcy
                      & Collections
                      Po Box 12548
                      Austin, TX 78711-2548


                      Unidos Food LLC
                      240 W. St. Francis
                      Brownsville, TX 78521
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 10 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 11 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 12 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 13 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 14 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 15 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 16 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 17 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 18 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 19 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 20 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 21 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 22 of 23
Case 23-10116 Document 1 Filed in TXSB on 07/03/23 Page 23 of 23
